
PER CURIAM.
The summary judgment against the defendant-counter plaintiff Richman is reversed in its entirety and the cause remanded for trial because the record shows genuine issues as to (a) whether, as claimed in the complaint, the plaintiff bank reasonably incurred attorney’s fees in the amount sought in attempting to secure the payment of a debt owed by Richman; and (b) whether, as alleged in the counterclaim, the bank was guilty of (i) defamation of Rich-man’s credit for untruthfully representing to a credit bureau that he had not appropriately made the required payments, and (ii) conversion by refusing to release its interest in the collateral and in insurance proceeds when its outstanding debt had been discharged by payment.
